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           United States Court of Federal Claims
                              No. 17-1638 C
                              May 30, 2018
___________________________________________
2M RESEARCH SERVICES, LLC,

             Plaintiff,

v.

UNITED STATES OF AMERICA,

             Defendant,

and

VISION PLANNING & CONSULTING, LLC,

             Defendant Intervenor.
___________________________________________

                                TRANSFER ORDER

      Pursuant to Rule 40.1(b) of the Rules of the United States Court of Federal
Claims, and for the efficient administration of justice, the above-captioned case is
TRANSFERRED to the Honorable Loren A. Smith, who has agreed to the transfer.

      Accordingly, the Clerk of Court is directed to transfer the above-captioned case to
the Honorable Loren A. Smith.

      IT IS SO ORDERED.
                                               s/Robert H. Hodges, Jr.
                                               Robert H. Hodges, Jr.
                                               Senior Judge
